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 Evan R. Fleck, Esq. (admitted pro hac vice)                                Peter J. Barrett, Esq. (VA 46179)
 Michael W. Price, Esq. (admitted pro hac vice)                             Jeremy S. Williams, Esq. (VA 77469)
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 Co-Counsel for Debtors in Possession

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                                  )
     In re:                                                       )        Chapter 11
                                                                  )
     GYMBOREE GROUP, INC., et al.,1                               )        Case No. 19-30258 (KLP)
                                                                  )
                               Debtors.                           )        (Jointly Administered)


              NOTICE OF REJECTION OF CERTAIN UNEXPIRED LEASES AND
                      ABANDONMENT OF PERSONAL PROPERTY

         PLEASE TAKE NOTICE THAT on January 16, 2019, the above-captioned debtors
 (collectively, the “Debtors”) filed petitions for bankruptcy protection in the United States
 Bankruptcy Court for the Eastern District of Virginia.

        PLEASE TAKE FURTHER NOTICE THAT your rights may be affected. You should
 read these papers carefully and discuss them with your attorney, if you have one. If you do not
 have an attorney, you may wish to consult one.

         PLEASE TAKE FURTHER NOTICE THAT on February 20, 2019, the Bankruptcy
 Court entered an order (the “Rejection Procedures Order”),2 approving expedited procedures for
 rejecting unexpired leases of nonresidential real property (the “Rejection Procedures”) [Docket
 No. 381]. A copy of the Rejection Procedures Order is attached hereto as Attachment I. Pursuant
 1
       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
       Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree Holding Corporation
       (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree Operations, Inc. (6463);
       Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464); Gymboree Retail Stores, LLC
       (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The Debtors’ service address is 71
       Stevenson Street, Suite 2200, San Francisco, California 94105.
 2
       Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Rejection
       Procedures Order.
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 to the Rejection Procedures Order, the Debtors hereby notify you that the unexpired leases (each,
 a “Designated Lease”) set forth on Attachment II hereto are rejected by the Debtors, effective as
 of the date set forth on Attachment II or as otherwise determined in accordance with the Rejection
 Procedures (the “Effective Date”). The Debtors intend to abandon the De Minimis Assets
 described on Attachment II at the leased premises. If not removed from the leased premises by
 the Effective Date, such De Minimis Assets will be deemed abandoned.

        PLEASE TAKE FURTHER NOTICE THAT if you wish to object to the rejection of
 any Designated Lease, you must file such objection with the Court at the following address: U.S.
 Bankruptcy Court, 701 East Broad Street, Suite 4000, Richmond, Virginia 23219, Attn: Clerk of
 Court, and serve it on the following parties such that it is actually received by no later than 10
 days after you receive this Rejection Notice:

                a.      counsel for the Debtors: Milbank LLP, 55 Hudson Yards, New York, NY
                        10001, Attn: Dennis F. Dunne, Esq., Evan R. Fleck, Esq., and Michael W.
                        Price, Esq. and Kutak Rock LLP, 901 East Byrd Street, Suite 1000,
                        Richmond, VA 23219, Attn: Michael A. Condyles, Esq., Peter J. Barrett,
                        Esq., Jeremy S. Williams, Esq., and Brian H. Richardson, Esq.;

                b.      the Office of the United States Trustee for the Eastern District of Virginia
                        (the “U.S. Trustee”), 701 East Broad Street, 4th Floor, Richmond, Virginia
                        23219, Attn: Robert B. Van Arsdale, Esq.;

                c.      counsel to the Committee, Pachulski Stang Ziehl & Jones, 780 Third
                        Avenue, 34th Floor, New York, New York 10017; Attn: Robert J.
                        Feinstein, Esq., Bradford J. Sandler, Esq.;

                d.      co-counsel to the Committee, Whiteford Taylor & Preston, LLP, 3190
                        Fairview Park Dr., Suite 800, Falls Church, Virginia 22042, Attn:
                        Christopher A. Jones, Esq.;

                e.      counsel to the Debtors’ proposed postpetition secured lenders, King &
                        Spalding LLP, 1185 Avenue of the Americas, New York, New York
                        10036, Attn: W. Austin Jowers, Esq., and Christopher G. Boies, Esq.;

                f.      co-counsel to the Debtors’ proposed postpetition secured lenders,
                        McGuireWoods LLP, 800 East Canal Street, Richmond, Virginia 23219,
                        Attn: Dion W. Hayes, Esq., Douglas M. Foley, Esq., and Sarah B. Boehm,
                        Esq.;

                g.      co-counsel to Bank of America, N.A. as administrative agent under the
                        ABL Credit Agreement, Morgan, Lewis & Bockius LLP, One Federal St.,
                        Boston, MA 02110-1726, Attn: Julia Frost-Davies, Esq. and Amelia C.
                        Joiner, Esq. and co-counsel Hunton Andrews Kurth LLP, 951 East Byrd
                        Street, Richmond, Virginia 23219, Attn: Tyler P. Brown, Esq. and Justin
                        F. Paget, Esq.;



                                                 2
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                 h.      counsel to Goldman Sachs Specialty Lending Group, L.P. as administrative
                         and collateral agent; and

                 i.      any banking or financial institution that holds the Debtors’ accounts.

         PLEASE TAKE FURTHER NOTICE THAT if you do not timely file and serve a
 written objection to the rejection of a Designated Lease, the Court may deem any objection waived,
 treat the rejection as conceded and enter an order, substantially in the form attached hereto as
 Attachment III (the “Rejection Order”), granting the relief requested in this Rejection Notice
 without further notice or a hearing.

         PLEASE TAKE FURTHER NOTICE THAT if an objection to the rejection of any
 Designated Lease is timely filed and not withdrawn or resolved, the Debtors shall file a notice for
 a hearing to consider the objection; provided that if such objection is filed with respect to the
 effective date of rejection of a Designated Lease, the Rejection Procedures shall not prejudice any
 parties’ rights with respect to such effective date of rejection, and each party’s burden with respect
 thereto shall be the same as if the Rejection Procedures did not exist. If such objection is overruled
 or withdrawn, the applicable Designated Lease shall be rejected with the effective date of such
 rejection to be as set forth above.

         PLEASE TAKE FURTHER NOTICE THAT if no party files an objection to the
 rejection of a Designated Lease within 10 days of the date the Debtors serve the Rejection Notice,
 the Debtors shall file a certificate of no objection and a Rejection Order authorizing the rejection
 of the Designated Leases, with the effective date of such rejection to be as set forth above.

        PLEASE TAKE FURTHER NOTICE THAT if the Debtors have deposited property
 with the counterparty to a Designated Lease as a security deposit or other arrangement, such
 counterparty may not set off or otherwise use such deposit without prior authorization of the Court;
 provided, however, that the rights of a counterparty to a Designated Lease to exercise its
 recoupment right under applicable law are not affected.

         PLEASE TAKE FURTHER NOTICE THAT, any counterparty with a claim arising as
 a result of the rejection of a Designated Lease must file a proof of claim on or before the Rejection
 Claim Bar Date.



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 Dated: March 4, 2019              /s/ Brian H. Richardson
 Richmond, Virginia                Michael A. Condyles, Esq. (VA 27807)
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                                   Jeremy S. Williams, Esq. (VA 77469)
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                                                   Jeremy.Williams@KutakRock.com
                                                   Brian.Richardson@KutakRock.com
                                   -and-

                                   Dennis F. Dunne, Esq. (admitted pro hac vice)
                                   Evan R. Fleck, Esq. (admitted pro hac vice)
                                   Michael W. Price, Esq. (admitted pro hac vice)
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                                   Co-Counsel for Debtors in Possession
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                                    Attachment I

                              Rejection Procedures Order
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                                 Attachment II

                               Designated Leases
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                                                                           Attachment II
                                                                          Rejected Leases1

  Landlord          Debtor           Address of                          Notice Address                           Abandoned Personal Property                 Rejection
Counter Party   Counterparty      Leased Property                                                                                                               Date
Kahala Center   Gymboree          4211 Waialae          Kahala Center Company                                De Minimis Assets that will be                   3/18/2019
Company         Retail Stores,    Ave., Honolulu,       c/o MMI Realty Services, Inc.                        abandoned include all of the following
                LLC (f/k/a        HI 96816              200 South Los Robles Avenue, Suite 510               and similar types of property that may
                Gymboree                                Pasadena, CA 91101                                   be on premises as of the effective date
                Retail Stores,                                                                               of rejection: shelving and storage units,
                Inc.)                                   Kahala Center Company                                fixtures, packaging materials, signage,
                                                        c/o MMI Realty Services, Inc.                        furniture, handcarts and other
                                                        4211 Waialae Avenue, Suite #33                       warehousing materials, clothing,
                                                        Honolulu, HI 96816                                   inventory, returned or damaged
                                                                                                             merchandise, computers, cash registers,
                                                        Christian & Barton, LLP                              paint cans and related equipment,
                                                        909 East Main Street, Suite 1200                     lumber, tools, spackle, drywall, unused
                                                        Richmond, VA 23219                                   construction supplies, etc.
                                                        Attn: Augustus C. Epps, Jr., Esq., Michael D.
                                                        Mueller, Esq., Jennifer M. McLemore, Esq.,
                                                        and Bennett T. W. Eastham, Esq.

                                                        Hanson Bridgett LLP
                                                        425 Market Street, 26th Floor
                                                        San Francisco, CA 94105
                                                        Attn: Nancy J. Newman, Esq.




      1
           Notwithstanding the inclusion of a Lease on this Attachment II, the Debtors reserve the right to remove any such Lease or otherwise modify its treatment
           until the Rejection Date. In such case, the Debtor will promptly notice the Lease counterparty of such action.
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  Landlord         Debtor           Address of                     Notice Address                       Abandoned Personal Property             Rejection
Counter Party   Counterparty     Leased Property                                                                                                  Date
Tysons Corner   Gymboree         8080L Tyson’s      Tysons Corner Holdings LLC                      De Minimis Assets that will be              3/18/2019
Holdings LLC    Retail Stores,   Corner Center,     1906 Chain Bridge Road, Suite 105               abandoned include all of the following
                LLC              McLean, VA         Mclean, VA 22102, Attn: Center Manager          and similar types of property that may
                                 22102                                                              be on premises as of the effective date
                                                    Tysons Corner Holdings LLC                      of rejection: shelving and storage units,
                                                    c/o Macerich, P.O Box 2172                      fixtures, packaging materials, signage,
                                                    401 Wilshire Blvd., Suite 700                   furniture, handcarts and other
                                                    Santa Monica, CA 90407                          warehousing materials, clothing,
                                                    Attn: Legal Dept.                               inventory, returned or damaged
                                                                                                    merchandise, computers, cash registers,
                                                    Ballard Spahr LLP,                              paint cans and related equipment,
                                                    2029 Century Park East, Suite 800, Los          lumber, tools, spackle, drywall, unused
                                                    Angeles, CA 90067                               construction supplies, etc.
                                                    Attn: Dustin P. Branch, Esq.

                                                    Christian & Barton, LLP
                                                    909 East Main Street, Suite 1200
                                                    Richmond, VA 23219
                                                    Attn: Augustus C. Epps, Jr., Esq., Michael D.
                                                    Mueller, Esq., Jennifer M. McLemore, Esq.,
                                                    and Bennett T. W. Eastham, Esq.
Northwestern    Gymboree         320 W. 5th         Northwestern Simon, Inc.                        De Minimis Assets that will be              3/18/2019
Simon, Inc.     Retail Stores,   Anchorage,         c/o M.S. Management Associates Inc.             abandoned include all of the following
                LLC              Anchorage, AK      225 West Washington Street                      and similar types of property that may
                                 99501              Indianapolis, IN 46204                          be on premises as of the effective date
                                                                                                    of rejection: shelving and storage units,
                                                    Simon Property Group, L.P.                      fixtures, packaging materials, signage,
                                                    Attn: Ronald M. Tucker, Esq.                    furniture, handcarts and other
                                                    225 West Washington Street                      warehousing materials, clothing,
                                                    Indianapolis, IN 46204                          inventory, returned or damaged
                                                                                                    merchandise, computers, cash registers,
                                                                                                    paint cans and related equipment,
                                                                                                    lumber, tools, spackle, drywall, unused
                                                                                                    construction supplies, etc.


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   Landlord        Debtor           Address of                     Notice Address                   Abandoned Personal Property             Rejection
Counter Party   Counterparty     Leased Property                                                                                              Date
Jordan Creek    Gymboree         101 Jordan Creek    Jordan Creek Town Center                   De Minimis Assets that will be              3/18/2019
Town Center,    Retail Stores,   Parkway, W. Des     c/o GGP Jordan Creek L.L.C.                abandoned include all of the following
LLC             LLC              Moines, IA          350 N. Orleans St., Suite 300              and similar types of property that may
                                 50266               Chicago, IL 60654                          be on premises as of the effective date
                                                     Attn: Law/Lease Administration Dept.       of rejection: shelving and storage units,
                                                                                                fixtures, packaging materials, signage,
                                                     Jordan Creek Mall                          furniture, handcarts and other
                                                     101 Jordan Creek Parkway, Suite #12518     warehousing materials, clothing,
                                                     West Des Moines, IA 50266                  inventory, returned or damaged
                                                     Attn: General Manager                      merchandise, computers, cash registers,
                                                                                                paint cans and related equipment,
                                                     Brookfield Property REIT, Inc., as Agent   lumber, tools, spackle, drywall, unused
                                                     350 N. Orleans Street, Suite 300           construction supplies, etc.
                                                     Chicago, IL 60654
                                                     Attn: Kristen N. Pate, Esq.

                                                     Kelley Drye & Warren LLP
                                                     101 Park Avenue
                                                     New York, NY 10178
                                                     Attn: Robert L. LeHane, Esq.
Northpark       Gymboree         101 North           CBL & Associates Management, Inc.          De Minimis Assets that will be              3/18/2019
Mall/Joplin,    Retail Stores,   Rangeline Road,     CBL Center, Suite 500                      abandoned include all of the following
LLC             LLC (f/k/a       Joplin, MO          2030 Hamilton Place Blvd.                  and similar types of property that may
                Gymboree         64801               Chattanooga, TN 37421                      be on premises as of the effective date
                Retail Stores,                                                                  of rejection: shelving and storage units,
                Inc.)                                Husch Blackwell LLP                        fixtures, packaging materials, signage,
                                                     750 17th St., NW, Suite 900                furniture, handcarts and other
                                                     Washington, DC 20006                       warehousing materials, clothing,
                                                     Attn: Steven A. Neeley                     inventory, returned or damaged
                                                                                                merchandise, computers, cash registers,
                                                     Husch Blackwell LLP                        paint cans and related equipment,
                                                     736 Georgia Avenue, Suite 300              lumber, tools, spackle, drywall, unused
                                                     Chattanooga, TN 37402                      construction supplies, etc.
                                                     Attn: Caleb T. Holzaepfel


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  Landlord         Debtor           Address of                    Notice Address              Abandoned Personal Property             Rejection
Counter Party   Counterparty     Leased Property                                                                                        Date
Mall at         Gymboree         3265 West          Mall at Summit, LLC                   De Minimis Assets that will be              3/18/2019
Summit, LLC     Retail Stores,   Market St.,        c/o M.S. Management Associates Inc.   abandoned include all of the following
                LLC              Akron, OH          225 West Washington Street            and similar types of property that may
                                 44333              Indianapolis, IN 46204                be on premises as of the effective date
                                                                                          of rejection: shelving and storage units,
                                                    Simon Property Group, L.P.            fixtures, packaging materials, signage,
                                                    Attn: Ronald M. Tucker, Esq.          furniture, handcarts and other
                                                    225 West Washington Street            warehousing materials, clothing,
                                                    Indianapolis, IN 46204                inventory, returned or damaged
                                                                                          merchandise, computers, cash registers,
                                                                                          paint cans and related equipment,
                                                                                          lumber, tools, spackle, drywall, unused
                                                                                          construction supplies, etc.




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                                 Attachment III
                                Rejection Order
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    Dennis F. Dunne, Esq. (admitted pro hac vice)                           Michael A. Condyles, Esq. (VA 27807)
    Evan R. Fleck, Esq. (admitted pro hac vice)                             Peter J. Barrett, Esq. (VA 46179)
    Michael W. Price, Esq. (admitted pro hac vice)                          Jeremy S. Williams, Esq. (VA 77469)
    MILBANK LLP                                                             Brian H. Richardson, Esq. (VA 92477)
    55 Hudson Yards                                                         KUTAK ROCK LLP
    New York, New York 10001                                                901 East Byrd Street, Suite 1000
    Telephone:    (212) 530-5000                                            Richmond, Virginia 23219-4071
    Facsimile:    (212) 530-5219                                            Telephone:      (804) 644-1700
                                                                            Facsimile:      (804) 783-6192

    Co-Counsel for Debtors in Possession

                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                                 )
     In re:                                                      )         Chapter 11
                                                                 )
     GYMBOREE GROUP, INC., et al.,1                              )         Case No. 19-30258 (KLP)
                                                                 )
                               Debtors.                          )         (Joint Administration Requested)
                                                                 )


          ORDER AUTHORIZING THE REJECTION OF UNEXPIRED LEASES AND
            ABANDONMENT OF PERSONAL PROPERTY ON NOTICE FILED

              Upon (a) the entry of an order approving expedited procedures for rejecting unexpired

    leases in the above-captioned cases [Docket No. 381] (the “Rejection Procedures Order”)2 and (b)

    the notice of rejection of certain unexpired leases of nonresidential real property (each, a

    “Designated Lease” and collectively, the “Designated Leases”) abandonment of certain personal

    property (the “De Minimis Assets”) filed by the above-captioned debtors in possession (the


1
      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree Holding Corporation
      (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree Operations, Inc. (6463); Gymboree
      Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464); Gymboree Retail Stores, LLC (6461); Gym-Card,
      LLC (5720); and Gymboree Island, LLC (1215). The Debtors’ service address is 71 Stevenson Street, Suite 2200,
      San Francisco, California 94105.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Rejection
      Procedures Order.
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 “Debtors”) on ___________________ [Docket No. __] (the “Rejection Notice”); and this Court

 having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order

 of Reference from the United States District Court for the Eastern District of Virginia, dated

 July 10, 1984; and this Court having authority to enter a final order consistent with Article III of

 the United States Constitution; and this Court having found that venue is proper pursuant to 28

 U.S.C. §§ 1408 and 1409; and this Court having found that notice of the rejection of the Designated

 Leases and abandonment of the De Minimis Assets is appropriate under the circumstances and that

 no other notice need be provided; and upon all of the proceedings had before this Court; and this

 Court having found that the relief requested in the Motion is in the best interests of the Debtors’

 estates, their creditors, and other parties-in-interest; and after due deliberation and sufficient cause

 appearing therefor, it is HEREBY ORDERED THAT:

         1.      The Designated Leases listed on Exhibit A to this Order are rejected effective as

 of the later of (i) the date set forth in Exhibit A, which shall be no earlier than the date the Rejection

 Notice was filed, or (ii) the date the Debtors relinquish control of the premises (including by (A)

 turning over keys, key codes, and security codes, if any, to the affected landlord or (B) notifying

 the affected landlord in writing that the keys, keys codes, and security codes, if any, are not

 available, but the landlord may rekey the leased premises).

         2.      The Debtors do not waive any claims that they have or may have, including claims

 against each counterparty to a Designated Lease (the “Counterparties”), whether or not such claims

 are related to the rejection of the Designated Leases.

         3.      Proofs of claim arising from the rejection of each Designated Lease must be filed

 by the later of: (a) the deadline established in these cases for the filing of proofs of claim; (b) 30
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 days after the date of the entry of this Order; and (c) 30 days after the effective date of the rejection

 of the Designated Lease (the “Rejection Claim Bar Date”).

         4.      The Debtors are deemed to have abandoned the De Minimis Assets located at the

 leased premises subject to the Designated Leases as of the effective date of the rejection of the

 applicable Designated Lease. The Debtors shall have no liability to any Counterparty for rental

 charges or occupancy of the leased premises arising after the effective date of the rejection of such

 Designated Leases, including in connection with the De Minimis Assets; provided, however, that

 the rights of Designated Lease Counterparties to assert any other claims, including damages claims

 arising from the rejection of such Designated Leases, are fully reserved.               The applicable

 Counterparties may, in their sole discretion and without further notice, dispose of the applicable

 De Minimis Assets without liability to the Debtors or any party. To the extent applicable, the

 automatic stay is modified to allow such disposition.

         5.      The rights of any party in interest to assert a claim against the Debtors’ estate for

 costs associated with the removal or disposition of the De Minimis Assets, as well as the Debtors’

 right to contest any such claim, are fully preserved.

         6.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted by this Order.

         7.      This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.

  Dated: _____________
  Richmond, Virginia                                  UNITED STATES BANKRUPTCY JUDGE
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 WE ASK FOR THIS:

 /s/ [DRAFT]
 Michael A. Condyles, Esq. (VA 27807)
 Peter J. Barrett, Esq. (VA 46179)
 Jeremy S. Williams, Esq. (VA 77469)
 Brian H. Richardson, Esq. (VA 92477)
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 - and -

 Dennis F. Dunne, Esq. (admitted pro hac vice)
 Evan R. Fleck, Esq. (admitted pro hac vice)
 Michael W. Price, Esq. (admitted pro hac vice)
 MILBANK LLP
 55 Hudson Yards
 New York, New York 10001
 Telephone:     (212) 530-5000
 Facsimile:     (212) 530-5219

 Co-Counsel for Debtors in Possession

                        CERTIFICATION OF ENDORSEMENT
                     UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

        Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing
 proposed order has been endorsed by or served upon all necessary parties.

                                             /s/ [DRAFT]
